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          IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION
Lewis Brisbois Bisgaard and Smith LLP §
                                      §
v.                                    § 4:22-cv-03279
Michael Joseph Bitgood, et al.        §

           BITGOOD’S RESPONSE TO PLAINTIFF PRO-SE’S
               MOTION TO REVOKE HIS ECF ACCESS

TO THE HONORABLE JUDGE OF SAID COURT:

                           I. INTRODUCTION

1.     On October 21st 2022, Bitgood requested ECF access under the

Americans with disabilities act.1 Dockets 29/30. This request was not

contingent on being in Plaintiff pro-se’s “good graces” or in having to bow

down to Plaintiff pro-se and do as they say.

2.     Indeed, and to avoid having to deal with more prevarications from

Plaintiff pro-se, Bitgood made his request solely and exclusively under



       1

       42 U.S.C. § 12112(a). Section 12102(2) of the ADA provides:
       "The term 'disability' means, with respect to an individual (A)
       a physical or mental impairment that substantially limits
       one or more of the major life activities of such individual; (B)
       a record of such an impairment; or (C) being regarded as
               having such an impairment." § 12102(2). “


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the act, leaving out all the false statements William Helfand made, and

was fully prepared to make if the application had been made on

conventional grounds.

3.      On the date that the Court called the matter for hearing, Plaintiff

pro-se was asked to speak up on the request,             and was    invited to

comment. Plaintiff pro-se, (wisely) indicated that he had no comment,

and that it would be up to the Court to approve the request. No written

response or verbal objection was made by Plaintiff pro-se.2 The

Court granted Bitgood’s ADA request on November 15th 2022. Docket #

50.

4.      On January 4th 2023, Plaintiff pro-se, without even attempting to

make a showing that Bitgood’s application was fraudulent or contained

any false statements that would have induced the court to act, moved to

revoke Bitgood’s ECF access for failing to be nice to Plaintiff pro-se,

and for speaking the absolute truth about Plaintiff pro-se and

the facts of this case in his filings, which of course contradict Plaintiff


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Plaintiff pro-se is a “master” at failing to follow rules, to timely object,
and they are the “masters” of attempted “mulligans” and do-overs when
they fail to follow the law both here and in State Court.

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pro-se’s false narrative, false statements, and their attempt to bribe a

lawyer in the case, and extort the defendants into agreeing to perpetrate

a fraud upon the State Court system.

II. PLAINTIFFS PRO-SE DO NOT KNOW WHAT THEY DOING

5.     If   the Court harbored any doubt, any doubt whatsoever that

Plaintiff pro-se is grossly inept, Plaintiff pro-se’s docket 96, removes all

doubt, and sheds light on just how vicious Plaintiff pro-se truly is.3

6.     Assuming arguendo, that Plaintiff pro-se is telling the truth in

their docket 96, something that this Court can never take as true when

coming from Plaintiff pro-se, their entire arguments, complaints, and

recourse to their grievances can be found– and addressed– by simply

adhering to the Federal Rules of Civil Procedure. However, and as this

record plainly reveals, Plaintiff pro-se does not know how to follow those

rules, or even worse, they continues to believe that said rules have no

application to them.

7.     Plaintiff pro-se’s entire complaint in docket # 96, is what the


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You do not suspend the Constitution, and you do not seek to inflict
physical pain and hardship on anyone because you do not like what they
say.

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Federal Rules call: PLEADING ABUSES! Stated differently, Plaintiff

pro-se is not claiming that any of Bitgood’s filings are false, they are

claiming that they do not like the filings–period! This is understood in

that Bitgood is not going to lay dormant and allow Plaintiff pro-se to

keep lying to the Court.

8.     And how does the Court know this? Well, because if Bitgood

was        launching   broadsides, making false statements, unwarranted

attacks, or was even remotely wrong, then a law firm that touts itself

as being the sixth largest in America, with an army of 1600 lawyers

would waste no time in using the tools and weapons found in the rules

to curtail, and put an end to what            Plaintiff pro-se calls Bitgood’s

pleading abuses and “garbage”!4 However, and quite sadly, they do

not know what they are doing, and so they lash out by asking the

Court to break the very law it was empowered to protect as per

congress,       (the   ADA)   and to suspend          the   United     States

Constitution.



       4

An unhappy Plaintiff pro se uses the term “GARBAGE” to refer to all of
this Defendant’s pleadings that oppose them. See Docket # 96.

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        III. THE SOLE, EXCLUSIVE, AND PROPER REMEDY

9.      The following has to be a profound embarrassment to anyone who

calls themself a lawyer, and especially a lawyer admitted to practice

before this Court. And even worse, it has to be the ignorant layman that

has to teach it to the lawyers.5

10.     If Plaintiff pro-se’s grievances found at docket 96 are true, which

of course they are not, then the proper way to address those complaints

is to file a motion using Rule 11 of Federal Rules of Civil Procedure and

set forth what the pleading abuses are, and what the false statements

are.

11.     Indeed, this is nothing new, and in the 5th Circuit’s landmark

opinion of Thomas v. Capital Sec. Services, Inc. 836 F.2d 866 (5th Cir.

1988)(en banc), (17-0), the 5th Circuit made clear that there are no more

free rides, or passes, for pleading abuses such as the ones contained in

Plaintiff pro-se’s docket 96, which pleading itself, is a violation of Rule

11 itself in that it asks the Court to (a), break the law, and (b), to

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“Perhaps the problem lies in Bitgood’s ignorance of what constitutes a
legitimate pleading, but that is not an excuse for such clearly
inappropriate conduct.” (Plaintiff pro-se at docket 96.)

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abandon it’s role as the neutral arbiter of this case by asking the Court

to tell these grossly inept Plaintiffs pro-se, how to practice law, what to

file, when to file it, to advise them on legal doctrines, and to advise them

on the legal applicability of the law to this case. 6

12.     Indeed, annexed hereto as exhibit “A-1" is the series of e-mails sent

by Plaintiff pro-se to the Court asking the Court what to file, when to file

it, what to respond to, how to respond, and requesting that the Court

advise them on what the law is. This is breathtaking and astounding

to say the least. In addition, the emails sent to the Court always

manufacture some non-exist crisis, emergency, and request immediate

attention by the Court.

13.     If plaintiff pro se believes that there have been pleading abuses by

Bitgood, the remedy is a clear one, file your motion under Rule 11, and as

the Honorable Alvin Rubin of the 5th Circuit once penned about Bitgood–



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“And the words "shall impose" in the last sentence focus the court's
attention on the need to impose sanctions for pleading and motion abuses.
The court, however, retains the necessary flexibility to deal appropriately
with violations of the rule. It has discretion to tailor sanctions to the
particular facts of the case, with which it should be well acquainted.”
(Thomas v. Capital supra).

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(give him an invitation to “put up”) before you tell him to “shut up”!

14.     The fact that this ignorant layman has to continue teaching these

inept lawyers, bears witness to just how bad, and how in bad faith they

litigate without the least bit of fear or concern over the Federal Rules

and it’s consequences; the federal statutes that control this issue; and, the

United States Court of Appeals for the 5th Circuit already passing on this

very request, when Plaintiff pro-se took this exact identical complaint

that they makes in docket 96 to the 5th Circuit, and the 5th Circuit

DENIED IT, on January 5th 2023. See: Exhibit “B-2", the order of the

5th Circuit granting      ecf   access to Bitgood after hearing the same

harangue Plaintiff pro-se makes here.7

15.     Plaintiff pro-se had a duty to tell this Court about this ruling, but

alas, if the Court is waiting on Plaintiff pro-se to be honest in this case,

this Court’s good nature, and gentle spirit of equity, will continue to be

slapped, and get slapped until such time it is brought to a halt, which is

coming       soon, for unlike Plaintiff pro-se, Bitgood does know how to


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It is clear that Plaintiff pro-se is out to embarrass the Court by having a
district Court overrule the 5th Circuit on the very same issue that the 5th
Circuit has already ruled on.

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address Plaintiff pro-se’s flagrant pleading abuses.8

                           IV. CONCLUSION

16.     The ADA, signed into law by President Bush in 1990, sought to

secure and bring about dignity for those who like defendant Bitgood suffer

from serious disabilities. It was not then, nor is it now, a bargaining chip

to be granted in return for pleasing unhappy miscreants who have a

problem with the truth– and telling the truth. And, it is not to be used to

punish the disabled every time that some disgruntled lawyer or litigant

is called out for what they are doing, saying, or for being shown how inept

they truly are.

17.     To be sure, Bitgood is not asking for any FREE RIDE. If what

Plaintiff pro-se alleges in his docket 96 is true, and rises to the level of

pleading abuses, then the Court should not hesitate to punish Bitgood

for the abuses with the following caveat that also comes from the 5th

Circuit– “that sword, Rule 11, cuts both ways”!


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A failure to speak and to disclose is considered to be lying. Indeed, in
Hennigan vs. Harris County, Texas, 593 S.W.2d. 380 (Tex. App. [10th Dist.]
1979) (writ ref’d. n.r.e.), the court stated: “Where there is a duty to speak,
silence may be as misleading as a positive misrepresentation of existing
facts.” Hennigan at 384.

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18.     However, inflicting physical pain, discomfort, and placing the

defendant at great peril to be severely injured, is not a remedy, it is

purposeful discrimination that violates not only Rule 11, but the ADA

itself, and is a highly illegal request to be made in the very forum that

Congress granted this Court, the powers to make sure that what

Plaintiff pro-se is asking for, never comes to pass. Their motion is

frivolous, vindictive, petty and abusive, and should be denied. 9

                                      Respectfully Submitted,
                                      /s/Michael Joseph Bitgood
                                      a/k/a/ Michael Easton
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                                      Richmond, Texas 77406
                                      281-415-8655
                                      EastProLaw@msn.com


        9

In case the Court missed it, this is what Plaintiff pro-se really wants as
seen in docket 96. “[t] he answer is to put Bitgood back in the position most
pro se litigants are in: someone must determine whether what Bitgood
wishes to put in the public record actually belongs there.” CODE: (Be
our lawyer again Judge)–and, this one from docket 96. “[r]evoke
Bitgood’s ECF access and force Bitgood to deliver, or have delivered to
the Clerk, any pleading Bitgood may wish, to allow the Clerk and the
Court the appropriate prior review...” CODE: (Censor him Judge, stop
him from telling the world about Lewis Brisbois Judge, in fact, allow us
to review his filings, then we will send you another e-mail telling you if
we are OK with it.)


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                    CERTIFICATE OF SERVICE
                    th
     On this the 24 day of January, 2023, I certify that service was
accomplished on all parties by ecf.
                                  /s/ Michael Joseph Bitgood




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